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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                               4:08CR3177
      vs.
                                                   MEMORANDUM AND ORDER
JOHN HENRY SUTTON,
                    Defendants.


      The defendant has failed to meet the burden of showing, by clear and convincing
evidence pursuant to 18 U.S.C. § 3143 (a) and Fed. R. Crim. P. Rule 32.1(a)(6) that his
placement at Williams Prepared Place will not pose a danger to the safety of any person
or the community. The defendant has a long history of failing to follow rules and has
wasted opportunities the court has provided in the past. Accordingly,


      IT IS ORDERED:

      1)     The defendant’s motion for release, (Filing No. 251), is denied.

      2)     The above-named defendant shall be detained until further order.

      3)     The defendant is committed to the custody of the Attorney General for
             confinement in a corrections facility; the defendant shall be afforded
             reasonable opportunity for private consultation with counsel; and on order
             of a court of the United States, or on request of an attorney for the
             government, the person in charge of the facility shall deliver the defendant
             to a United States Marshal for appearance in connection with a court
             proceeding.

      February 14, 2013.
                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
